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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

JASON SCHAUMLEFFEL,

               Plaintiff,


-v-                                                          Case No.: 2:17-cv-463
                                                             JUDGE GEORGE C. SMITH
                                                             Magistrate Judge Jolson
MUSKINGUM UNIVERSITY, et al.,

               Defendants.

                                             ORDER

       This matter was stayed on October 15, 2018 pursuant to the parties’ Joint Motion to Stay

to allow the parties to discuss settlement. (Doc. 69). Technically that stay was never lifted.

However, the parties agreed in their Joint Status Report to lift the stay on discovery. The Court

entered a Scheduling Order on March 12, 2019. (Doc. 76). Prior to the expiration of some of the

deadlines set forth in that Scheduling Order, including the discovery deadline and dispositive

motions deadline, Plaintiff Jason Schaumleffel filed a Notice of Bankruptcy Stay under Chapter

13. (Doc. 93). The bankruptcy matter is still open, however, final closure is forthcoming. Due

to the counterclaims filed against Plaintiff, this matter is hereby stayed pursuant to Section 362

of the Bankruptcy Code (11 U.S.C. 362).

       The parties shall notify the Court immediately upon resolution of the bankruptcy

proceedings so that a new case management schedule can be established.

               IT IS SO ORDERED.

                                                      /s/ George C. Smith
                                                      GEORGE C. SMITH, JUDGE
                                                      UNITED STATES DISTRICT COURT
